               05-44481-rdd    Doc 9692-15        Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit F-3
      In re Delphi Corporation, et al.                    Pg 1 of 2         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT F-3 - ADJOURNED BOOKS AND RECORDS CLAIMS
             CREDITOR'S NAME AND          CLAIM                   ASSERTED                      DATE               DOCKETED
                   ADDRESS               NUMBER                 CLAIM AMOUNT                    FILED               DEBTOR


  ANDROID INDUSTRIES LLC                  14645              Secured:        $3,184,562.00     07/31/2006   DELPHI AUTOMOTIVE
  40950 WOODWARD AVE STE 100                                  Priority:                                     SYSTEMS LLC (05-44640)
  BLOOMFIELD HILLS, MI 48304                            Administrative:
                                                           Unsecured:
                                                                 Total:      $3,184,562.00


  ESSEX GROUP INC                         11530              Secured:            $795,196.61   07/27/2006   DELPHI CORPORATION
  1601 WALL ST                                                Priority:                                     (05-44481)
  FORT WAYNE, IN 46801-1601                             Administrative:
                                                           Unsecured:
                                                                 Total:          $795,196.61


  FCI AUSTRIA GMBH                        14042              Secured:                          07/31/2006   DELPHI AUTOMOTIVE
  PIERCE ATWOOD LLP                                           Priority:                                     SYSTEMS LLC (05-44640)
  ONE MONUMENT SQUARE                                   Administrative:
  PORTLAND, ME 04101-1110                                  Unsecured:               $711.42
                                                                 Total:             $711.42


  FEDERAL MOGUL CORPORATION               1111               Secured:        $1,952,349.57     12/12/2005   DELPHI CORPORATION
  26555 NORTHWESTERN HWY                                      Priority:                                     (05-44481)
  SOUTHFIELD, MI 48034                                  Administrative:
                                                           Unsecured:
                                                                 Total:      $1,952,349.57


  GENERAL ELECTRIC CAPITAL CORP           15452              Secured:                          07/31/2006   DELPHI AUTOMOTIVE
  ATTN URI SKY                                                Priority:                                     SYSTEMS LLC (05-44640)
  C O GE CAPITAL SOLUTIONS                              Administrative:
  VENDOR FINANCE                                           Unsecured:            $651,626.18
  1010 THOMAS EDISON BLVD SW                                     Total:          $651,626.18
  CEDAR RAPIDS, IA 52404

  GUIDE CORPORATION                       14070              Secured:                          07/31/2006   DELPHI CORPORATION
  600 CORPORATION DRIVE                                       Priority:                                     (05-44481)
  PENDLETON, IN 46064                                   Administrative:
                                                           Unsecured:                  UNL
                                                                 Total:                UNL


  RLI INSURANCE COMPANY                   6668               Secured:                          05/23/2006   DELPHI MECHATRONIC
  10 ESQUIRE RD STE 14                                        Priority:      $2,000,000.00                  SYSTEMS, INC (05-44567)
  NEW CITY, NY 10956                                    Administrative:
                                                           Unsecured:
                                                                 Total:      $2,000,000.00


  VERIZON NORTH INC                       2340               Secured:                          03/20/2006   DELPHI CORPORATION
  404 BROCK DR                                                Priority:                                     (05-44481)
  BLOOMINGTON, IL 61701                                 Administrative:
                                                           Unsecured:              $5,083.55
                                                                 Total:            $5,083.55

*UNL stands for unliquidated
                                                                   Page 1 of 2
               05-44481-rdd    Doc 9692-15         Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit F-3
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                   ADDRESS                  NUMBER            CLAIM AMOUNT               FILED     DEBTOR

                                   Total:      8                         $8,589,529.33




*UNL stands for unliquidated
                                                                Page 2 of 2
